Case 2:19-cv-02286-JWH-KS Document 961 Filed 02/05/24 Page 1 of 2 Page ID #:129803



   KRISTIN J. ACHTERHOF
 1 (Admitted Pro Hac Vice)
    kristin.achterhof@katten.com
 2 KATTEN MUCHIN ROSENMAN LLP
   525 W. Monroe Street
 3 Chicago, IL 60661-3693
   T: (312) 902-5296
 4 F: (312) 902-1061
 5 PAUL S. YONG (SBN 303164)
    paul.yong@katten.com
 6 KATTEN MUCHIN ROSENMAN LLP
   2029 Century Park East, Suite 2600
 7 Los Angeles, CA 90067-3012
   T: (310) 788-4400
 8 F: (310) 788-4471
 9 TIMOTHY H. GRAY
   (Admitted Pro Hac Vice)
10 timothy.gray@katten.com
   KATTEN MUCHIN ROSENMAN LLP
11 1919 Pennsylvania Ave NW - Suite 800
   Washington, DC 20006-3404
12 T: (202) 625-3608
   F: (202) 298-7570
13
14                         UNITED STATES DISTRICT COURT
15              FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
17 STRATEGIC PARTNERS, INC.,             Case No.: 2:19-cv-02286-JWH-KS
18                                       District Judge: Hon. John W. Holcomb
              Plaintiff,                 Magistrate Judge: Hon. Karen Stevenson
19
         v.                        STRATEGIC PARTNERS, INC.’S
20                                 UNOPPOSED NOTICE OF MOTION AND
21 FIGS, INC., CATHERINE (“TRINA”) MOTION
                                             TO ENTER STIPULATED
                                   FOURTH AMENDED PROTECTIVE
22 SPEAR, HEATHER HASSON,          ORDER

23            Defendant.           Date: March 8, 2024
                                   Time: 9:00 a.m.
24                                 Crtrm.: 9D
25
26
27
28

          STRATEGIC PARTNERS, INC.’S UNOPPOSED MOTION TO ENTER STIPULATED ORDER
Case 2:19-cv-02286-JWH-KS Document 961 Filed 02/05/24 Page 2 of 2 Page ID #:129804




 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
          PLEASE TAKE NOTICE that on March 8, 2024, at 9:00 a.m., or as soon thereafter
 2
   as this matter may be heard, we shall appear before the Honorable John W. Holcomb in
 3
   Courtroom 9D of the above-entitled Court, located at Ronald Reagan Federal Building and
 4
   U.S. Courthouse, 411 W. 4th Street, Santa Ana, California 92701-4516, to present this
 5
   Unopposed Motion to Enter Stipulated Fourth Amended Protective Order. A copy of the
 6
   proposed Stipulated Amended Protective Order is attached as Exhibit A.
 7
          This Motion is made and based on the parties’ consent. Defendants do not oppose
 8
   this motion and have agreed to the Stipulated Fourth Amended Protective Order.
 9
          The Court previously granted Unopposed Motions to enter Stipulated Amended
10
   Protective Orders modifying the initial Protective Order’s provision for return or
11
   destruction of documents to extend the deadline for such return or destruction by 90 days.
12
   (Dkt. Nos. 948, 949, 957, 960.) The basis for those extensions was the existence of
13
   proceedings involving the Michelman & Robinson Firm and Plaintiff separate from, but
14
   related to, this case, and that necessitate the preservation of documents that were exchanged
15
   in this case.
16
          There is good cause to grant this Unopposed Motion because those proceedings have
17
   not yet concluded, and therefore the time for return or destruction of Protected Material
18
   must be further extended to account for those proceedings. Accordingly, the parties have
19
   agreed to extend the date for another 90 days from entry of the Fourth Amended Protective
20
   Order, which the text of the previous Amended Protective Order already reflects.
21
22 Dated: February 5, 2024                 KATTEN MUCHIN ROSENMAN LLP
23
                                           By:     /s/ Kristin J. Achterhof
24                                                Kristin J. Achterhof, Esq.
25                                                525 W. Monroe Street
                                                  Chicago, IL 60661-3693
26                                                T: (312) 902-5296
27                                                F: (312) 902-1061
                                                  kristin.achterhof@katten.com
28                                                One of the Attorneys for Plaintiff

                                               1
            STRATEGIC PARTNERS, INC.’S UNOPPOSED MOTION TO ENTER STIPULATED ORDER
